
AYRES, Judge.
From a judgment sought at the instance of a creditor of this succession, ordering an *389administration of the estate and succession and directing that Arthur W. Humble, in his capacity as testamentary executor, furnish bond or security for the faithful performance of his duties as executor, the executor applied for and was granted orders of suspensive and devolutive appeals.
Appellant neither appeared nor filed a brief in this court prior to the time this cause was called for argument.
Hence, under Rule VII, Section 5(b) of the Uniform Rules of the Courts of Appeal, the appeal taken in this cause is considered and deemed abandoned and is,, accordingly, dismissed at appellant’s costs.
Appeal dismissed.
